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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:                                            Chapter 11

 Desolation Holdings LLC, et al.                   Case No. 23-10597 (BLS)

                       Debtors.                    (Jointly Administered)



                                   NOTICE OF SERVICE

          PLEASE TAKE NOTICE that on August 31, 2023, Florida Office of Financial

Regulation, by and through their undersigned counsel, caused a copy of the Objections and

Responses to Debtors’ First Set of Requests for Production served upon the email of counsel as

set forth below:

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Dated: August 31, 2023                     THE BIFFERATO FIRM PA

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